Case: 1:24-cv-00678 Document #: 69-1 Filed: 11/27/24 Page 1 of 28 PageID #:456




                     Exhibit A
 Case: 1:24-cv-00678 Document #: 69-1 Filed: 11/27/24 Page 2 of 28 PageID #:457




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION



NIKKO D’AMBROSIO,

       Plaintiff,
                                         Case No. 1:24-cv-00678
               v.
                                         Hon. Sunil R. Harjani
ABBIGAIL RAJALA, et al.,

       Defendants.


      SPILL THE TEA DEFENDANTS’ RULE 12(b)(6) MOTION TO DISMISS
              PLAINTIFF’S SECOND AMENDED COMPLAINT




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      Case: 1:24-cv-00678 Document #: 69-1 Filed: 11/27/24 Page 3 of 28 PageID #:458




                                                   TABLE OF CONTENTS
                                                                                                                                  Page(s)

TABLE OF AUTHORITIES......................................................................................................... iii
INTRODUCTION ..........................................................................................................................1
FACTS ALLEGED IN THE COMPLAINT ...................................................................................2
LEGAL STANDARD .....................................................................................................................3
ARGUMENT ..................................................................................................................................3
I.        Section 230 of the CDA bars the plaintiff’s claims in their entirety .................................3

          A.         The plaintiff’s claims improperly seek to treat the Spill the Tea
                     Defendants as the “publisher or speaker” of third-party comments .......................3

          B.         The plaintiff’s attempts to plead around Section 230 fail .......................................5

                     1.         The Spill the Tea Defendants are not “information content providers” ......5

                     2.         The “intellectual property” exception to Section 230 does not apply ...... 10

II.       The plaintiff’s claims fail as a matter of law .................................................................... 10

          A.         The IRPA claim fails as a matter of law................................................................ 10

          B.         The defamation claims fail as a matter of law ...................................................... 11

                     1.         The complaint does not identify any false statements .............................. 12

                     2          The AWDTSG posts do not fall within any of the limited
                                categories of defamation per se ................................................................ 12

                     3.         The AWDTSG posts are nonactionable opinions ..................................... 14

                     4.         The plaintiff fails to plead special damages to support his
                                defamation per quod claim ....................................................................... 15

          C.         The false light and civil conspiracy claims fail as a matter of law ....................... 16

          D.         The Doxing Act claim fails as a matter of law...................................................... 16




                                                                     i
    Case: 1:24-cv-00678 Document #: 69-1 Filed: 11/27/24 Page 4 of 28 PageID #:459




                     1.         No defendant published “personally identifiable information .................. 17

                     2.         The plaintiff is not “likely to suffer death, bodily injury, or stalking” ..... 18

                     3.         The plaintiff did not suffer “emotional distress,” a “substantial
                                life disruption,” or fear of “serious bodily injury” .................................... 18

          E.         The unjust enrichment claim fails as a matter of law ........................................... 19

CONCLUSION ............................................................................................................................. 20




                                                                    ii
    Case: 1:24-cv-00678 Document #: 69-1 Filed: 11/27/24 Page 5 of 28 PageID #:460




                                              TABLE OF AUTHORITIES

                                                                                                                              Page(s)

Cases

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) .............................................................................................................3, 19

Basile v. Prometheus Glob. Media,
   225 F. Supp. 3d 737 (N.D. Ill. 2016) .......................................................................................13

Bd. of Forensic Document Exam’rs, Inc. v. Am. Bar Ass’n,
    287 F. Supp. 3d 726 (N.D. Ill. 2018) .................................................................................13, 14

Bell Atlantic Corp. v. Twombly,
    550 U.S. 544 (2007) .........................................................................................................3, 8, 18

Bittman v. Fox,
    107 F. Supp. 3d 896 (N.D. Ill. 2015) .......................................................................................16

Blair v. Nevada Landing P’ship,
   859 N.E.2d 1188 (Ill. App. 2006) ............................................................................................10

Carafano v. Metrosplash.com, Inc.,
   339 F.3d 1119 (9th Cir. 2003) ...................................................................................................7

Chi. Lawyers’ Comm. for Civil Rights Under the Law, Inc. v. Craigslist, Inc.,
   519 F.3d 666 (7th Cir. 2008) .............................................................................................4, 8, 9

Cody v. Harris,
   409 F.3d 853 (7th Cir. 2005) .............................................................................................12, 13

Cunningham v. UTI Integrated Logistics, Inc.,
   Civil No. 09-1019-GPM, 2010 WL 1558718 (S.D. Ill. Apr. 19, 2010) ..................................14

DeLuna v. Burciaga,
   857 N.E.2d 229 (Ill. 2006) .......................................................................................................17

Doe v. Columbia Coll. Chi.,
   933 F.3d 849 (7th Cir. 2019) .....................................................................................................3

Dornhecker v. Ameritech Corp.,
   99 F. Supp. 2d 918 (N.D. Ill. 2000) .........................................................................................15

Fair Hous. Council of San Fernando Valley v. Roommates.com, LLC,
   521 F.3d 1157 (9th Cir. 2008) ...................................................................................................6



                                                                   iii
   Case: 1:24-cv-00678 Document #: 69-1 Filed: 11/27/24 Page 6 of 28 PageID #:461




Fed. Trade Comm’n v. Accusearch Inc.,
   570 F.3d 1187 (10th Cir. 2009) .................................................................................................6

Fed. Trade Comm’n v. LeadClick Media, LLC,
   838 F.3d 158 (2d Cir. 2016)...................................................................................................4, 6

Force v. Facebook, Inc.,
   934 F.3d 53 (2d Cir. 2019).........................................................................................................4

Garcia v. SigmaTron Int’l, Inc.,
   986 F.3d 1058 (7th Cir. 2021) .................................................................................................16

Gen. Elec. Cap. Corp. v. Lease Resol. Corp.,
   128 F.3d 1074 (7th Cir. 1997) ...................................................................................................1

Glob. Royalties, Ltd. v. Xcentric Ventures, LLC,
   544 F. Supp. 2d 929 (D. Ariz. 2008) .........................................................................................7

Great Northern Ins. Co. v. Amazon.com, Inc.,
   524 F. Supp. 3d 852 (N.D. Ill. 2021) .........................................................................................9

Henderson v. Source for Pub. Data, L.P.,
   53 F.4th 110 (4th Cir. 2022) ......................................................................................................6

Heying v. Simonaitis,
   466 N.E.2d 1137 (Ill. App. 1984) ............................................................................................14

Honaker v. Smith,
   256 F.3d 477 (7th Cir. 2001) ...................................................................................................19

Huon v. Denton,
   841 F.3d 733 (7th Cir. 2016) .......................................................................................4, 7, 8, 10

Hurst v. Cap. Cities Media, Inc.,
   754 N.E.2d 429 (Ill. App. 2001) ..............................................................................................15

Huston v. Hearst Commc’ns, Inc.,
   53 F.4th 1097 (7th Cir. 2022) ..................................................................................................11

Jaros v. Vill. of Downer’s Grove,
   180 N.E.3d 125 (Ill. App. 2020) ..............................................................................................14

Jones v. Dirty World Ent. Recordings LLC,
   755 F.3d 398 (6th Cir. 2014) .............................................................................................6, 7, 9

Kirchner v. Greene,
   691 N.E.2d 107 (Ill. App. 1998) ..............................................................................................12



                                                                  iv
   Case: 1:24-cv-00678 Document #: 69-1 Filed: 11/27/24 Page 7 of 28 PageID #:462




Law Offices of David Freydin, P.C. v. Chamara,
   24 F.4th 1122 (7th Cir. 2022) ......................................................................................11, 14, 16

Lifton v. Bd. of Educ. of City of Chi.,
    416 F.3d 571 (7th Cir. 2005) ...................................................................................................14

Lott v. Levitt,
    556 F.3d 564 (7th Cir. 2009) ...................................................................................................15

Love v. Simmons,
   Case No. 23-cv-2392, 2024 WL 809107 (N.D. Ill. Feb. 27, 2024) .........................................19

Ludlow v. Northwestern Univ.,
   79 F. Supp. 3d 824 (N.D. Ill. 2015) ...................................................................................12, 16

Madison v. Frazier,
  539 F.3d 646 (7th Cir. 2008) ...................................................................................................14

Muzikowski v. Paramount Pictures Corp.,
  322 F.3d 918 (7th Cir. 2003) ...................................................................................................15

Nemet Chevrolet, Ltd. v. Consumeraffairs.com, Inc.,
   591 F.3d 250 (4th Cir. 2009) .............................................................................................4, 7, 8

Osundairo v. Geragos,
   447 F. Supp. 3d 727 (N.D. Ill. 2020) .......................................................................................16

People v. Bailey,
   657 N.E.2d 953 (Ill. 1995) .......................................................................................................18

People v. Nakajima,
   691 N.E.2d 153 (Ill. App. 1998) ..............................................................................................18

People v. Sucic,
   928 N.E.2d 1231 (Ill. App. 2010) ............................................................................................18

Rivera v. Allstate Ins. Co.,
   189 N.E.3d 982 (Ill. App. 2021) ..............................................................................................13

Schivarelli v. CBS, Inc.,
   776 N.E.2d 693 (Ill. App. 2002) ..............................................................................................16

Solaia Tech., LLC v. Specialty Publ’g Co.,
   852 N.E.2d 825, 839 (Ill. 2006) ...............................................................................................11

Thompson v. Ill. Dep’t of Prof. Reg.,
   300 F.3d 750 (7th Cir. 2002) ...................................................................................................11



                                                                  v
    Case: 1:24-cv-00678 Document #: 69-1 Filed: 11/27/24 Page 8 of 28 PageID #:463




Vanzant v. Hill’s Pet Nutrition, Inc.,
   934 F.3d 730 (7th Cir. 2019) ...................................................................................................19

Zeran v. Am. Online, Inc.,
   129 F.3d 327 (4th Cir. 1997) .....................................................................................................9

Statutes

740 ILCS 14/10 ..............................................................................................................................17

740 ILCS 195/5 ........................................................................................................................17, 19

740 ILCS 195/10(a) .................................................................................................................16, 17

740 ILCS 195/10(a)(1) ...................................................................................................................18

740 ILCS 195/10(a)(2) ...................................................................................................................18

740 ILCS 195/10(a)(3) ...................................................................................................................17

47 U.S.C. § 230 ...................................................................................................................... passim

47 U.S.C. §§ 230(a), (b) ...............................................................................................................3, 4

47 U.S.C. § 230(c)(1) ...............................................................................................................3, 4, 5

47 U.S.C. § 230(f)(2) .......................................................................................................................4

47 U.S.C. § 230(f)(3) .......................................................................................................................5

Other Authorities

Federal Rule of Civil Procedure 12(b)(6) ....................................................................................1, 3




                                                                      vi
    Case: 1:24-cv-00678 Document #: 69-1 Filed: 11/27/24 Page 9 of 28 PageID #:464




       Pursuant to Federal Rule of Civil Procedure 12(b)(6), defendants Spill the Tea, Inc., Blake

Milbrand, and Paola Sanchez (the “Spill the Tea Defendants”) move to dismiss the Second

Amended Complaint (the “SAC”) (Dkt. 53) with prejudice.

                                       INTRODUCTION

       Plaintiff Nikko D’Ambrosio, who was recently sentenced to federal prison for tax fraud

(see Judgment in a Criminal Case, attached as Exhibit 1), has now made his third attempt to sustain

this lawsuit against a slew of defendants based on his contention that some women spoke poorly

about him in a Facebook Group called Are We Dating the Same Guy? (“AWDTSG”). The gist of

the messages on AWDTSG is that women should “steer clear” from D’Ambrosio because he is

“cruel.” See SAC, Ex. C at 1, 3.

       As one indication of D’Ambrosio’s cruelty, defendant Abbigail Rajala posted a text

message she says D’Ambrosio sent her. Id. at 2. The message stated:

               Speak for yourself you ugly vial fake whore. Your ego matches that
               fake fucking face where you can’t even smile in pictures because
               your teeth are so fucked. The truth hurts bitch and my message will
               stay with you forever cunt.

Id. (The text message appears in Exhibit C to the complaint but is illegible. The Spill the Tea

Defendants have attached a legible copy of the text message as Exhibit 2.) The text message is

consistent with D’Ambrosio’s statement, in his sentencing memorandum in his criminal case, that

he has “tried” to “be kind (arguably except to the occasional dating prospect).” See D’Ambrosio’s

Sentencing Memorandum, attached as Exhibit 3, at 5. 1




1
  The Court may take judicial notice of the criminal judgment against the plaintiff, his federal
prison sentence, and the statements in his sentencing memorandum. See Gen. Elec. Cap. Corp. v.
Lease Resol. Corp., 128 F.3d 1074, 1081 (7th Cir. 1997).

                                                1
  Case: 1:24-cv-00678 Document #: 69-1 Filed: 11/27/24 Page 10 of 28 PageID #:465




       The Spill the Tea Defendants did not post anything about D’Ambrosio on AWDTSG.

Nevertheless, D’Ambrosio alleges that the Spill the Tea Defendants are liable for misappropriation,

defamation, “doxing,” and other state law torts because they administer the Facebook Group on

which the purportedly offensive statements appeared.

       D’Ambrosio’s misguided attempt to paint the defendants as bad actors does not mask the

multitude of deficiencies in his second amended complaint. D’Ambrosio has now had three

attempts to plead cognizable claims and has failed to do so. The second amended complaint should

be dismissed with prejudice.

                          FACTS ALLEGED IN THE COMPLAINT

       AWDTSG is a collection of Facebook Groups that aims to protect women from dangerous

men. See SAC, Ex. A at 1. Sanchez and Milbrand administer AWDTSG. Id. at ¶ 15. Sanchez and

Milbrand own Spill the Tea, Inc., which owns and operates AWDTSG. Id. at ¶¶ 5-6, 8.

       D’Ambrosio and Rajala had a casual dating relationship. Id. at ¶ 45. In November 2023,

Rajala posted D’Ambrosio’s photograph in the AWDTSG “Chicago Subgroup,” along with a

screenshot of a text message she says she received from D’Ambrosio after their relationship ended.

Id. at ¶ 46, Ex. C at 2. The text message called Rajala an “ugly vial fake whore” and a “bitch”

(among other things), made derogatory comments about her appearance, and warned her: “[M]y

message will stay with you forever cunt.” SAC, Ex. C at 2; Ex. 2.

       Several women posted comments in response to Rajala’s AWDTSG post. See SAC, Ex. C

at 1. The comments generally described D’Ambrosio as “cruel” and warned others to “steer clear.”

See id. Defendant Monica Tska posted a link to a CBS News story about sexual assault charges

against a man named Anthony LaMonica. Id. at ¶ 50, Ex. C at 1. The link displayed LaMonica’s




                                                2
     Case: 1:24-cv-00678 Document #: 69-1 Filed: 11/27/24 Page 11 of 28 PageID #:466




name and photograph. Id. at Ex. C at 1. The link did not refer to D’Ambrosio or otherwise contain

any information about him. See id.

         D’Ambrosio seeks to hold the Spill the Tea Defendants liable for various state law torts

based on the AWDTSG users’ posts.

                                      LEGAL STANDARD

         To survive a motion to dismiss pursuant to Rule 12(b)(6), “the complaint must ‘state a

claim for relief that is plausible on its face.’” Doe v. Columbia Coll. Chi., 933 F.3d 849, 854 (7th

Cir. 2019) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A plaintiff must

“plead particularized factual content, not conclusory allegations, that allows the court to plausibly

infer the defendant is liable for the alleged misconduct.” Id. “A pleading that offers labels and

conclusions or a formulaic recitation of the elements of a cause of action will not do.” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (quotation omitted). “Factual allegations must be enough to raise

a right to relief above the speculative level.” Twombly, 550 U.S. at 555.

                                          ARGUMENT

I.       Section 230 of the CDA bars the plaintiff’s claims in their entirety.

         Section 230 of the CDA forbids any “provider or user of an interactive computer service”

from being “treated as the publisher or speaker of any information provided by another information

content provider.” 47 U.S.C. § 230(c)(1). All of D’Ambrosio’s claims hinge on attributing third-

party AWDTSG users’ statements to the Spill the Tea Defendants. Section 230 plainly prohibits

that tactic, and D’Ambrosio’s efforts to plead around Section 230 fail.

         A.     The plaintiff’s claims improperly seek to treat the Spill the Tea Defendants as
                the “publisher or speaker” of third-party comments.

         In passing the CDA, Congress expressly recognized the need “to preserve the vibrant and

competitive free market” and “forum for a true diversity” of ideas that the internet promotes. 47


                                                 3
  Case: 1:24-cv-00678 Document #: 69-1 Filed: 11/27/24 Page 12 of 28 PageID #:467




U.S.C. §§ 230(a), (b). To further that policy, Section 230 states that “[n]o provider or user of an

interactive computer service shall be treated as the publisher or speaker of any information

provided by another information content provider.” 47 U.S.C. § 230(c)(1). “This means that for

purposes of defamation and other related theories of liability, a company [ ] cannot be considered

the publisher of information simply because [it] hosts an online forum for third-party users to

submit comments.” Huon v. Denton, 841 F.3d 733, 741 (7th Cir. 2016). Thus, Section 230 bars

“state-law plaintiffs from holding interactive computer service providers legally responsible for

information    created   and    developed    by    third   parties.”   Nemet   Chevrolet,    Ltd.   v.

Consumeraffairs.com, Inc., 591 F.3d 250, 254 (4th Cir. 2009); Chi. Lawyers’ Comm. for Civil

Rights Under the Law, Inc. v. Craigslist, Inc., 519 F.3d 666, 671 (7th Cir. 2008) (affirming

judgment for Craigslist because it “could not be treated as the ‘speaker’ of the posters’ words,

given § 230(c)(1)”). Courts construe Section 230 “broadly” in favor of shielding online forum

hosts from liability for user content. Force v. Facebook, Inc., 934 F.3d 53, 64 (2d Cir. 2019).

       Section 230 bars D’Ambrosio’s claims. The Spill the Tea Defendants both “use” and

“provide” an “interactive computer service” under Section 230. They operate AWDTSG through

Facebook, which is unquestionably an interactive computer service. See 47 U.S.C. § 230(f)(2)

(defining an “interactive computer service” as any “information service . . . that provides or enables

computer access by multiple users to a computer server”); Force, 934 F.3d at 64 (holding that

Facebook is an interactive computer service). They also administer an online message board,

which courts have repeatedly held is an interactive computer service. See Huon, 841 F.3d at 741

(the host of “an online forum for third-party users to submit comments” is a provider of an

interactive computer service); Fed. Trade Comm’n v. LeadClick Media, LLC, 838 F.3d 158, 174

(2d Cir. 2016) (“Courts typically have held that . . . online message boards . . . fall within this



                                                  4
  Case: 1:24-cv-00678 Document #: 69-1 Filed: 11/27/24 Page 13 of 28 PageID #:468




definition.”). Accordingly, under Section 230, the Plaintiff cannot treat the Spill the Tea Defendants

as a “publisher or speaker” of Rajala’s or other AWDTSG users’ comments. 42 U.S.C. § 230(c)(1).

       Yet that is exactly what D’Ambrosio attempts to do. Count I asserts that the Spill the Tea

Defendants ran afoul of IRPA for “republishing” a photo that Rajala posted on AWDTSG. SAC,

¶¶ 2, 79-85. Counts III and IX assert defamation claims based on comments that Rajala and others

“published” on AWDTSG. Id. at ¶¶ 90-102, 159-166. Counts IV and V similarly assert state law

claims based on the AWDTSG posts. See id. at ¶¶ 104-117. Count II asserts an unjust enrichment

claim based on these same facts. See id. at ¶¶ 87-88. By seeking to hold the Spill the Tea

Defendants liable for the AWDTSG posts, D’Ambrosio treats the Spill the Tea Defendants, who

are “provider[s] or user[s] of an interactive computer service,” as the “publisher” of “information

provided by another information content provider,” which Section 230 expressly forbids. 47

U.S.C. § 230(c)(1). The complaint should be dismissed for this reason alone.

       B.      The plaintiff’s attempts to plead around Section 230 fail.

       Recognizing that Section 230 bars his claims, D’Ambrosio attempts to plead around it by

alleging that the Spill the Tea Defendants are “‘information content providers’ within the meaning

of 47 U.S.C. § 230” (SAC, ¶ 90) and by styling his IRPA claim as an “intellectual property” claim

(id. at ¶¶ 79-85). Both attempts fail.

               1.      The Spill the Tea Defendants are not “information content providers.”

       The complaint does not allege the particularized facts necessary to show that the Spill the

Tea Defendants are “information content providers” within the meaning of Section 230.

       Section 230 defines an “information content provider” as “any person or entity that is

responsible, in whole or in part, for the creation or development of information provided through

the Internet or any other interactive computer service.” 47 U.S.C. § 230(f)(3). To meet this

definition, a plaintiff must plausibly allege that the defendant “directly and ‘materially’ contributed

                                                  5
  Case: 1:24-cv-00678 Document #: 69-1 Filed: 11/27/24 Page 14 of 28 PageID #:469




to what made the content itself ‘unlawful.’” See, e.g., Henderson v. Source for Pub. Data, L.P., 53

F.4th 110, 127 (4th Cir. 2022) (quoting Force, 934 F.3d at 68); Fair Hous. Council of San Fernando

Valley v. Roommates.com, LLC, 521 F.3d 1157, 1168 (9th Cir. 2008) (an information content

provider “contributes materially to the alleged illegality of the conduct”); Jones v. Dirty World Ent.

Recordings LLC, 755 F.3d 398, 413 (6th Cir. 2014) (“[c]onsistent with our sister circuits, we adopt

the material contribution test”).

       This is a high hurdle. In light of Section 230’s “broad” interpretation in favor of non-

liability (see, e.g., Jones, 755 F.3d at 407 (collecting cases)), courts require plaintiffs to allege

detailed facts showing that the defendant is directly responsible for the purportedly offensive

content by, for example, drafting the content themselves, requiring users to post unlawful content

as a condition of using the forum, or compensating users for posting unlawful content. See, e.g.,

LeadClick Media, 838 F.3d at 171 (defendant “required alterations to the [forum’s] content” by

“instructing [users] to revise their pages to comply with explicit directives”); Roommates.com, 521

F.3d at 1166 (defendant required subscribers to complete a “limited set of pre-populated answers”

with content that violated federal and state laws as a condition of accessing the website’s services);

Henderson, 53 F.4th at 117-18, 128 (defendant “reformatted and altered” the plaintiffs’ public

criminal records by “stripping out or suppressing” critical information and “replacing” the stripped

information with “its own internally created summaries of the charges”) (cleaned up); Fed. Trade

Comm’n v. Accusearch Inc., 570 F.3d 1187, 1199 (10th Cir. 2009) (defendant directed

“researchers” to illegally obtain individuals’ confidential information, paid the “researchers” for

their work, then sold the information to third parties even though it “knew that its researchers were

obtaining the information through fraud or illegality”).




                                                  6
  Case: 1:24-cv-00678 Document #: 69-1 Filed: 11/27/24 Page 15 of 28 PageID #:470




       In contrast, courts routinely hold that defendants are not information content providers if

they “provide a forum for user posts” but “[do] not require users to violate the law as a condition

of posting, [do] not compensate for the posting of actionable speech, [do] not post actionable

content themselves, and therefore [are] not responsible for the actionable speech that was displayed

on their websites.” Jones, 755 F.3d at 414. That is true even if the forum is a “passive conduit for

disseminating defamatory statements.” See Huon, 841 F.3d at 742; Glob. Royalties, Ltd. v. Xcentric

Ventures, LLC, 544 F. Supp. 2d 929, 933 (D. Ariz. 2008) (“It is obvious that a website entitled

Ripoff Report encourages the publication of defamatory content. However, there is no authority

for the proposition that this makes the website operator responsible, in whole or in part, for the

‘creation or development’ of every post on the site.”).

       Jones is directly on point. In that case, the defendants operated a website called

www.TheDirty.com, which encouraged users to submit “stories, news, and gossip about local

individuals”—in short, “a user-generated tabloid primarily targeting nonpublic figures.” Jones,

755 F.3d at 401, 403. The defendants hand-selected which submissions to publish, but did “not

materially change, create, or modify any part” of the submissions or “fact-check [them] for

accuracy.” Id. at 403. The Sixth Circuit held that the defendants were not information content

providers because they did not require users to post actionable content as a condition of use and

did not directly solicit unlawful information. Id. at 416; accord Carafano v. Metrosplash.com, Inc.,

339 F.3d 1119, 1124 (9th Cir. 2003) (dating website’s user questionnaire did not make the website

an information content provider because, while the questionnaire “facilitated [ ] expression,” the

users nonetheless had exclusive control over deciding what content to include in their profiles);

Nemet Chevrolet, Ltd., 591 F.3d at 257-58 (business review website was not an information content




                                                 7
  Case: 1:24-cv-00678 Document #: 69-1 Filed: 11/27/24 Page 16 of 28 PageID #:471




provider because, while the website solicited users’ opinions about local businesses, the users

ultimately chose what content to post).

       The Seventh Circuit takes a similar approach. In Huon, for example, the plaintiff’s assertion

that the defendant’s employees “authored” one or more of the defamatory comments at issue—an

assertion the plaintiff supported with “over four pages” of detailed factual allegations—was

sufficient to plausibly allege that the defendant was an information content provider. 841 F.3d at

742. In contrast, in Chicago Lawyers’ Committee, the court held that Craigslist was not an

information content provider because it merely offered a forum for its users to post the content of

their choice. 519 F.3d at 671-72.

       D’Ambrosio does not come close to alleging that the Spill the Tea Defendants are

information content providers. His blanket statement that the “[d]efendants are ‘information

content providers’ within the meaning of 47 U.S.C. § 230” (SAC, ¶ 90) is plainly insufficient. See

Twombly, 550 U.S. at 555 (“a plaintiff’s obligation to provide the ‘grounds’ of his ‘entitle[ment]

to relief’ requires more than labels and conclusions”). His remaining allegations fare no better.

       First, the vague assertions that Sanchez and Spill the Tea provide unspecified “legal and

editorial advice” to posters and somehow “assist in the editing of language in particular posts”

(SAC, ¶ 20) are the sorts of threadbare, conclusory allegations that courts have held are insufficient

to hold a defendant liable as an information content provider. See Huon, 841 F.3d at 742 (complaint

“asserting one or two standalone factual allegations concerning [a defendant’s] control over

comments” does not suffice); Nemet Chevrolet, Ltd., 591 F.3d at 258 (allegation that the defendant

engaged in “revising or redrafting” consumer complaints, without identifying what the defendant

actually revised or redrafted or how its edits affected the posts, was “both threadbare and




                                                  8
  Case: 1:24-cv-00678 Document #: 69-1 Filed: 11/27/24 Page 17 of 28 PageID #:472




conclusory” and thus insufficient). Moreover, even if the complaint could plausibly allege that

Sanchez edits some AWDTSG posts, it does not allege that she edited the posts at issue here.

       Second, the allegation that Sanchez manually reviews and approves all AWDTSG posts

(SAC, ¶ 5) is insufficient as a matter of law, as “‘[l]awsuits seeking to hold a service provider

liable for its exercise of a publisher’s traditional editorial functions—such as deciding whether to

publish, withdraw, postpone or alter content—are barred.’” Great Northern Ins. Co. v.

Amazon.com, Inc., 524 F. Supp. 3d 852, 859-60 (N.D. Ill. 2021) (quoting Zeran v. Am. Online,

Inc., 129 F.3d 327, 330 (4th Cir. 1997)); Jones, 755 F.3d at 403 (website operator, who hand-

selected which user submissions to publish, was not an information content provider). This

allegation also is implausible. The complaint alleges that AWDTSG has more than three million

users across “a large number of subgroups reflecting major metropolitan areas across the globe,”

with “thousands” of posts in the Chicago Subgroup alone and “dozens” more added each day. See

SAC, ¶¶ 12-15, Ex. A. Even if Sanchez wanted to manually review and approve all AWDTSG

posts, she would not be able to do so.

       Finally, the complaint does not plead any facts regarding whether or how Milbrand acts as

an information content provider. The complaint vaguely suggests that Milbrand may be liable as

“the primary software developer for the companies” (id. at ¶ 6), but that is irrelevant. Developing

technology does not make a defendant an information content provider. Chi. Lawyers’ Comm., 519

F.3d at 671 (“no one could think” that “firms that make the [ ] software that owners use to post

their notices online” are information content providers).

       The Spill the Tea Defendants provide a passive forum where users are free to post the

content of their choice. They do not require users to post unlawful information as a condition of

using AWDTSG, they do not reward users for posting unlawful information, and they do not post



                                                 9
  Case: 1:24-cv-00678 Document #: 69-1 Filed: 11/27/24 Page 18 of 28 PageID #:473




actionable content themselves. As the Seventh Circuit has made clear, the Spill the Tea Defendants

“cannot be considered the publisher of information simply because [they] host[ ] an online forum

for third-party users to submit comments.” Huon, 841 F.3d at 741. The Spill the Tea Defendants

are not “information content providers,” and Section 230 bars D’Ambrosio’s claims.

               2.     The “intellectual property” exception to Section 230 does not apply.

       D’Ambrosio also attempts to invoke the “intellectual property” exception to Section 230

by styling his IRPA claim as an “intellectual property” claim. See SAC, ¶¶ 79-85. That effort fails

for the reasons set forth in section II(B) of Defendant Meta Platform, Inc.’s Motion to Dismiss

Second Amended Complaint (Dkt. 65 at 13-14) (the “Meta Motion to Dismiss”), which the Spill

the Tea Defendants hereby adopt and incorporate by reference.

II.    The plaintiff’s claims fail as a matter of law.

       Regardless of whether Section 230 bars D’Ambrosio’s claims in their entirety, the

complaint should be dismissed with prejudice for the independent reason that D’Ambrosio does

not allege the elements of his claims, and he cannot cure his pleading deficiencies.

       A.      The IRPA claim fails as a matter of law.

       An IRPA misappropriation claim has three elements: (1) appropriation of one’s name or

likeness (2) without one’s consent (3) for a commercial purpose. Blair v. Nevada Landing P’ship,

859 N.E.2d 1188, 1191-92 (Ill. App. 2006). D’Ambrosio alleges the defendants violated IRPA by

publishing his photograph on AWDTSG without his permission. SAC, ¶ 81. For all the reasons set

forth in section I(A) of the Meta Motion to Dismiss, which the Spill the Tea Defendants adopt and

incorporate by reference, the IRPA claim fails as a matter of law because the complaint does not

plausibly allege that Rajala or any other defendant posted D’Ambrosio’s photograph to AWDTSG

for a “commercial purpose.” Further, for all the reasons set forth in the Meta Motion to Dismiss,



                                                10
    Case: 1:24-cv-00678 Document #: 69-1 Filed: 11/27/24 Page 19 of 28 PageID #:474




section 35(b)(1) of IRPA expressly exempts the Spill the Tea Defendants’ alleged use of

D’Ambrosio’s photograph.

        D’Ambrosio tries to save his IRPA claim by alleging the Spill the Tea Defendants published

his photograph in connection with two online fundraisers, and he attaches those fundraisers as

exhibits to the complaint. SAC at ¶ 81, Ex. A, Ex. D. However, “IRPA requires that the individual’s

identity be used or held out to advance a commercial goal . . . and, necessarily, precede or

accompany the [commercial] activity.” Huston v. Hearst Commc’ns, Inc., 53 F.4th 1097, 1103 (7th

Cir. 2022) (emphasis added). As the exhibits make clear, D’Ambrosio’s photograph does not

appear at all on the fundraising pages. See SAC at Ex. A, Ex. D. 2 Indeed, the complaint alleges

that Sanchez published the GoFundMe page “[o]n or about April, 2023”—eight months before

Rajala posted D’Ambrosio’s photograph on AWDTSG. See SAC, ¶¶ 31, 46. The Spill the Tea

Defendants’ alleged use of D’Ambrosio’s photograph neither preceded nor accompanied

AWDTSG’s fundraising activity, and the IRPA claim necessarily fails.

        B.     The defamation claims fail as a matter of law.

        To state a claim for defamation under Illinois law, “a plaintiff must present facts showing

that the defendant made a false statement about the plaintiff, the defendant made an unprivileged

publication of that statement to a third party, and that this publication caused damages.” Law

Offices of David Freydin, P.C. v. Chamara, 24 F.4th 1122, 1129 (7th Cir. 2022) (quoting Solaia

Tech., LLC v. Specialty Publ’g Co., 852 N.E.2d 825, 829 (Ill. 2006)). D’Ambrosio cannot plead

these elements, and the defamation claims should be dismissed as a matter of law.




2
  It is well-settled that “where a plaintiff attaches documents and relies upon the documents to form
the basis for a claim or part of a claim, dismissal is appropriate if the document negates the claim.”
Thompson v. Ill. Dep’t of Prof. Reg., 300 F.3d 750, 754 (7th Cir. 2002).
                                                 11
  Case: 1:24-cv-00678 Document #: 69-1 Filed: 11/27/24 Page 20 of 28 PageID #:475




               1.      The complaint does not identify any false statements.

       The defamation claims fail out of the gate because D’Ambrosio does not even identify the

purportedly false statements with which he takes issue (aside from the statement about Anthony

LaMonica, which the Spill the Tea Defendants address below). The complaint vaguely asserts that

Rajala posted “provably false and defamatory statements” on AWDTSG, then generally points to

Exhibits B and C. SAC, ¶ 46. But those exhibits contain statements that even D’Ambrosio admits

are true, including that he and Rajala “met organically” in Chicago and had a brief dating

relationship. See SAC, ¶ 45, Ex. C at 2. “‘Absent some allegation as to what specific statement

was false, a claim based on false [statements] simply fails to satisfy the most basic element of the

cause of action.’” Ludlow v. Northwestern Univ., 79 F. Supp. 3d 824, 842 (N.D. Ill. 2015) (quoting

Kirchner v. Greene, 691 N.E.2d 107, 116 (Ill. App. 1998)) (emphasis in original).

               2.      The AWDTSG posts do not fall within any of the limited categories of
                       defamation per se.

       Defamation per se is restricted to statements that fall into five limited categories, including,

as relevant here: “(1) those imputing the commission of a criminal offense; . . . (3) those imputing

an inability to perform or want of integrity in the discharge of duties of office or employment;

[and] (4) those imputing a lack of ability, or that prejudice a party in his trade, profession, or

business.” Cody v. Harris, 409 F.3d 853, 857 (7th Cir. 2005). D’Ambrosio’s attempt to shoehorn

the AWDTSG statements into these categories is baseless.

       D’Ambrosio first alleges that the AWDTSG statements “are reasonably understood to state

or imply that Plaintiff has engaged in criminal activity by way of falsely accusing him of criminal

sexual assault.” SAC, ¶ 92. The only fact D’Ambrosio alleges to support that legal conclusion is

that someone posted a link to an article about a man named “Anthony LaMonica” being “charged

with Criminal Sexual Assault.” SAC, ¶ 50. But as D’Ambrosio himself acknowledges, and as the


                                                 12
  Case: 1:24-cv-00678 Document #: 69-1 Filed: 11/27/24 Page 21 of 28 PageID #:476




exhibits to the complaint make clear, the article in question contained LaMonica’s name and

photograph—not D’Ambrosio’s. Id. at ¶¶ 51-52, Ex. C at 4. “[A] statement is not actionable per

se if the statement can be reasonably interpreted as referring to someone other than the plaintiff.”

Rivera v. Allstate Ins. Co., 189 N.E.3d 982, 994-95 (Ill. App. 2021) (collecting cases). Because

the statement, on its face, does not refer to D’Ambrosio, it cannot support a claim of defamation

per se. See Bd. of Forensic Document Exam’rs, Inc. v. Am. Bar Ass’n, 287 F. Supp. 3d 726, 733-

34 (N.D. Ill. 2018) (“[I]f a statement can be reasonably interpreted as referring to someone else, it

fails to qualify as even being a statement targeting the plaintiff.”); Basile v. Prometheus Glob.

Media, 225 F. Supp. 3d 737, 743 (N.D. Ill. 2016) (“Because the article does not attribute criminal

activity to Basile, her claim under the first defamation per se category is without merit.”).

       D’Ambrosio next attempts to fit his claim within the third or fourth category of defamation

per se by alleging that the AWDTSG posts “imply that Plaintiff is dishonest, immoral and/or

untrustworthy” and therefore “have damaged Plaintiff in his trade, office, or profession.” SAC,

¶¶ 92, 94. But actionable statements “under the third and/or fourth categories have always been

related to job performance; to succeed, the plaintiff must have been accused of lacking ability in

his trade or doing something bad in the course of carrying out his job.” Cody, 409 F.3d at 857

(emphasis in original). “Conversely, attacks related to personal integrity and character have not

been deemed defamatory per se.” Id. at 858; Basile, 225 F. Supp. 3d at 743 (“Significantly, it is

not sufficient that the statement implies that the subject lacked integrity or judgment.”).

       It is clear from the complaint that none of the AWDTSG posts relate to D’Ambrosio’s job

performance or professional integrity. While Rajala referenced D’Ambrosio’s “bad side” . . . on

business calls,” see id., that statement is not actionable because it lacks the requisite “nexus

between the content of the defamatory statement” and the “skills” necessary to “carry out”



                                                 13
  Case: 1:24-cv-00678 Document #: 69-1 Filed: 11/27/24 Page 22 of 28 PageID #:477




D’Ambrosio’s “particular occupation.” Jaros v. Vill. of Downer’s Grove, 180 N.E.3d 125, 144 (Ill.

App. 2020) (citation omitted); see also Heying v. Simonaitis, 466 N.E.2d 1137, 1143 (Ill. App.

1984) (statements regarding personality conflicts between a nurse and her fellow employees were

not actionable because they did not impugn the plaintiff’s ability as a nurse); Cunningham v. UTI

Integrated Logistics, Inc., Civil No. 09-1019-GPM, 2010 WL 1558718, at *4 (S.D. Ill. Apr. 19,

2010) (statements that plaintiff made racially derogatory remarks and physically intimidated

coworkers “related more to [his] personal character (by impugning that he was a bigot and a bully)

than to his work or professional traits”). Indeed, D’Ambrosio does not even allege what his

occupation was before his imprisonment. The complaint does not identify any statement that is per

se defamatory, and Count III should be dismissed with prejudice.

                3.      The AWDTSG posts are nonactionable opinions.

        D’Ambrosio’s defamation claims fail for another, independent reason: The AWDTSG

posts constitute protected opinions. “[O]pinions that do not misstate facts are protected not only

by Illinois law but also by the First Amendment, and that is so even when the opinions concern

one of the five defamation per se categories under Illinois law.” Bd. of Forensic Document

Exam’rs, Inc., 922 F.3d at 832. Thus, statements which “fail to amount to verifiable assertions of

fact” and “lack[ ] readily understood meaning” are protected statements of opinion that do not give

rise to a defamation claim. Madison v. Frazier, 539 F.3d 646, 655 (7th Cir. 2008). The thrust of

the AWDTSG posts—that D’Ambrosio had a “bad side,” or is “cruel” and that others should “steer

clear” of him, coupled with “red flag” emojis and opinions about D’Ambrosio’s “true colors”—

reflect subjective opinions about D’Ambrosio’s character and are not verifiable statements of fact.

See Lifton v. Bd. of Educ. of City of Chi., 416 F.3d 571, 579 (7th Cir. 2005) (descriptions of plaintiff

as “lazy,” “unstable,” or “doesn’t want to work” were nonactionable opinion); Law Offices of



                                                  14
    Case: 1:24-cv-00678 Document #: 69-1 Filed: 11/27/24 Page 23 of 28 PageID #:478




David Freydin, P.C., 24 F.4th at 1130 (statements such as “terrible experience,” “awful customer

service,” and “don’t waste your money” were too imprecise to constitute actionable facts). 3

                4.      The plaintiff fails to plead special damages to support his defamation
                        per quod claim.

        In a per quod defamation action, “the plaintiff must plead and prove special damages,

meaning actual damage to his reputation and pecuniary loss resulting from the defamatory

statement.” Dornhecker v. Ameritech Corp., 99 F. Supp. 2d 918, 933 (N.D. Ill. 2000).

D’Ambrosio’s feeble and conclusory allegations do not meet this heightened pleading standard,

and Count IX should be dismissed.

        The only special damages D’Ambrosio alleges are “emotional distress, emotional loss, loss

of professional opportunities, and damage to his reputation and relationships.” SAC, ¶ 162. These

allegations cannot support a claim for defamation per quod because D’Ambrosio “did not itemize

his losses or plead specific damages of actual financial injury,” which “is a required element of a

per quod claim.” Muzikowski v. Paramount Pictures Corp., 322 F.3d 918, 927 (7th Cir. 2003).

“Such general allegations, which make no effort to explain how any reputational damage translated

into actual harm, are not enough.” Lott v. Levitt, 556 F.3d 564, 570 (7th Cir. 2009) (upholding

dismissal of a defamation claim where the plaintiff alleged he encountered people who understood

the statements “to be a swipe at his professional reputation but does not describe what pecuniary

losses he suffered as a result.”).




3
  The only factually verifiable statement is Rajala’s assertion that D’Ambrosio sent her a text
message calling her an “ugly vial fake whore,” a “bitch,” and a “cunt” with a “fake fucking face.”
See SAC Ex. B at 2; Ex. 2. Tellingly, D’Ambrosio does not base his defamation claim on this
statement because it would require him to deny that he sent Rajala the text message, which he
cannot do without violating Rule 11. See Hurst v. Cap. Cities Media, Inc., 754 N.E.2d 429, 433
(Ill. App. 2001) (truth is an absolute defense to defamation claims).
                                                15
  Case: 1:24-cv-00678 Document #: 69-1 Filed: 11/27/24 Page 24 of 28 PageID #:479




       C.      The false light and civil conspiracy claims fail as a matter of law.

       D’Ambrosio’s false light claim fails for the same reasons his defamation claim fails. First,

the complaint does not specifically identify any false statements, which alone warrants dismissal.

See Ludlow, 79 F. Supp. 3d at 842 (dismissing defamation and false light claims). Second, “when

a false light invasion of privacy claim follows an unsuccessful defamation claim, the false light

claim must also fail.” Garcia v. SigmaTron Int’l, Inc., 986 F.3d 1058, 1062 (7th Cir. 2021); see

also Osundairo v. Geragos, 447 F. Supp. 3d 727, 738 (N.D. Ill. 2020) (“Where an unsuccessful

defamation per se claim is the basis of his false-light claim, plaintiff’s false light invasion of

privacy claim fails as well.”). Third, the AWDTSG posts are “statements that are expressions of

opinion devoid of any factual content,” which “are not actionable as false light claims.” Schivarelli

v. CBS, Inc., 776 N.E.2d 693, 701 (Ill. App. 2002). Fourth, to the extent the false light claim is

based on statements that are allegedly defamatory per quod, it fails because D’Ambrosio has not

alleged special damages. See Bittman v. Fox, 107 F. Supp. 3d 896, 904 (N.D. Ill. 2015) (“if a false

light claim is based on statements that are not defamatory per se, special damages too must be

pleaded”).

       D’Ambrosio’s civil conspiracy claim is tethered to his false light claim. SAC, ¶¶ 115-116.

As the false light claim fails, the civil conspiracy claim must also be dismissed. See Law Offices

of David Freydin, P.C., 24 F.4th at 1133 (“When a plaintiff fails to state an independent cause of

action underlying its conspiracy allegations, the claim for conspiracy also fails.”).

       D.      The Doxing Act claim fails as a matter of law.

       To state a claim under the Doxing Act, a plaintiff must allege: (1) that the defendant

published his “personally identifiable information”; (2) that the publication rendered him

“reasonably likely to suffer death, bodily injury, or stalking”; and (3) that the publication caused

him to suffer “emotional distress,” to “fear serious bodily injury,” or to “suffer a substantial life

                                                 16
  Case: 1:24-cv-00678 Document #: 69-1 Filed: 11/27/24 Page 25 of 28 PageID #:480




disruption.” See 740 ILCS 195/10(a). D’Ambrosio also fails to allege even the most basic elements

of this claim, and it should be dismissed.

               1.      No defendant published “personally identifiable information.”

       The Doxing Act defines “personally identifiable information” as (1) information that “can

be used to distinguish or trace a person’s identity,” such as the person’s legal name or place of

birth, plus (2) “other information that is linked or linkable to a person,” such as a person’s “social

security number, home address, phone number, email address, social media accounts, or biometric

data,” a person’s work or medical records, or “information that provides access to a person’s

teleconferencing, video-teleconferencing, or other digital meeting room.” 740 ILCS 195/5.

Further, “the person whose information is published must be identifiable from the published

personally identifiable information itself.” Id., § 10(a)(3).

       D’Ambrosio alleges that the defendants published his personally identifiable information

by posting his first name and “likeness” (i.e., his photograph) on AWDTSG. SAC, ¶ 104, Ex. C.

D’Ambrosio fails to allege even the first prong of “personally identifiable information,” as a

person’s first name alone is not enough to “distinguish or trace” that person’s identity. See 740

ILCS 195/5. He also fails to allege the second prong, as the statutory text makes clear that a

photograph does not qualify as information that is “linked or linkable to a person.” Such

information falls into two buckets: (1) a person’s contact information (e.g., home address, phone

number, email address); and (2) sensitive, uniquely identifying personal information (e.g., social

security number, biometric data, medical records). See 740 ILCS 195/5. The closest a photograph

comes to any of these is “biometric data,” but the Illinois law expressly states that a photograph is

not a biometric identifier. See 740 ILCS 14/10 (“[b]iometric identifiers do not include . . .

photographs”); see DeLuna v. Burciaga, 857 N.E.2d 229, 236 (Ill. 2006) (“[i]t is appropriate

statutory construction to consider similar and related enactments”).
                                                  17
  Case: 1:24-cv-00678 Document #: 69-1 Filed: 11/27/24 Page 26 of 28 PageID #:481




                2.      The plaintiff is not “likely to suffer death, bodily injury, or stalking.”

        The Doxing Act claim fails for the independent reason that D’Ambrosio does not allege

any facts to show that he was “reasonably likely to suffer death, bodily injury, or stalking.” See

740 ILCS 195/10(a)(1). He alleges only that he is “reasonably likely or otherwise [has] reasonable

fear that he is likely to suffer significant injury, including risk of death, bodily injury, or stalking”

(SAC, ¶ 105), but parroting the statutory language is insufficient. See Twombly, 550 U.S. at 555

(conclusory allegations and “a formulaic recitation of the elements of a cause of action will not

do”). In any event, the complaint misstates the relevant legal standard. The Doxing Act requires

that a plaintiff actually be likely to suffer death, bodily injury, or stalking—not that he has a

“reasonable fear” that he is likely to suffer such things. 740 ILCS 195/10(a)(1).

        D’Ambrosio cannot cure this deficiency. The Doxing Act incorporates the stalking statute

at Section 12.73 of Illinois’ Criminal Code. See id. at § 5. Under that statute, courts have held that

victims reasonably feared bodily injury where, for example, the defendant told the victim he “was

going to come over with a gun” and “blow her and her children away” (People v. Bailey, 657

N.E.2d 953, 970 (Ill. 1995) (cleaned up)), “left the victim several voice mail messages threatening

to kill her” (People v. Sucic, 928 N.E.2d 1231, 1249 (Ill. App. 2010)), and followed the victim at

her workplace, trailed her vehicle, and lurked outside her home (People v. Nakajima, 691 N.E.2d

153, 155-56 (Ill. App. 1998)). D’Ambrosio does not allege that anyone even contacted him as a

result of the AWDTSG posts, let alone engaged in any behavior that seriously threatened his safety.

The opposite is true: The AWDTSG posts warned others to “steer clear.” See SAC, Ex. C at 1.

                3.      The plaintiff did not suffer “emotional distress,” a “substantial life
                        disruption,” or fear of “serious bodily injury.”

        In an effort to meet section 10(a)(2) of the Doxing Act, D’Ambrosio alleges, with no

supporting facts, that he suffered “significant emotional distress, disruption to his life, and fear of


                                                   18
  Case: 1:24-cv-00678 Document #: 69-1 Filed: 11/27/24 Page 27 of 28 PageID #:482




serious bodily injury” as a “direct and proximate cause of the Defendants’ actions.” SAC, ¶ 106).

This blanket assertion simply regurgitates the statutory language and fails as a matter of law. See

Iqbal, 556 U.S. at 679 (claims that tender “‘naked assertions’ devoid of ‘further factual

enhancement’” do not suffice) (quoting Twombly, 550 U.S. at 557). Once again, D’Ambrosio

cannot cure this pleading deficiency.

       First, the statute limits “emotional distress” to “significant . . . emotional suffering that is

protracted and not merely trivial or transitory.” 740 ILCS 195/5. In the tort context, “emotional

stress must be severe,” and “fright, horror, grief, shame, humiliation, worry, etc. . . . alone are not

actionable.” Honaker v. Smith, 256 F.3d 477, 495 (7th Cir. 2001) (emphasis in original). “The law

intervenes only where the distress inflicted is so severe that no reasonable man could be expected

to endure it.” Id. D’Ambrosio does not come close to alleging this level of emotional distress.

       Second, the Doxing Act narrowly defines a “substantial life disruption” as “a material and

significant alteration of an individual’s livelihood,” which includes “moving from an established

residence, changing routes to and from work, changing employment or work schedule, or losing

time at work or a job.” 740 ILCS 195/5. D’Ambrosio alleges nothing of the sort.

       Third, for the reasons set forth in Section II.D.2 above, D’Ambrosio cannot plausibly allege

that he suffered a fear of “serious bodily injury.” The Doxing Act claim should be dismissed.

       E.      The unjust enrichment claim fails as a matter of law.

       “Under Illinois law, unjust enrichment is not a separate cause of action.” Vanzant v. Hill’s

Pet Nutrition, Inc., 934 F.3d 730, 739 (7th Cir. 2019) (citation omitted). Because D’Ambrosio’s

substantive claims fail, his unjust enrichment claim also fails. Love v. Simmons, Case No. 23-cv-

2392, 2024 WL 809107, at *16 (N.D. Ill. Feb. 27, 2024).




                                                  19
  Case: 1:24-cv-00678 Document #: 69-1 Filed: 11/27/24 Page 28 of 28 PageID #:483




                                     CONCLUSION

       For all the foregoing reasons, the Second Amended Complaint should be dismissed with

prejudice.

 Dated: November 27, 2024                        Respectfully submitted,

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